Case 5:24-cr-00308-D Document 5-1

Ss

Filed 08/07/24

CRIMINAL COVERSHEET
U.S. District Court, Western District of Oklahoma

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Petty [_ | Misdemeanor [| Felony lV] USAO No.:

Charging Document: Indictment
Forfeiture: Y[¥] | OCDETF: Y [_ | McGirt: Y [|

NT] NI¥| NIv1

No. of Defendants: 1

Total No. of Counts: 8
Warrant IV] Summons|_ | Notice [|

Companion Case No. (if any):

‘can 24- 308

Sealed: Y [|

N |v]

DEFENDANT INFORMATION: By:_ DR
Name: KEITH TERRELL THOMPSON AUG 07 2024
Alias(es):Geno Address:
Ziggy
FBI No.:
DOB: 1998 SSN: XXXK-XX-7878 Race: Black Interpreter: Y [ | N
Sex: M F [| Juvenile: Y [| N IV Language/Dialect: English
PRIOR MAGISTRATE

DEFENDANT STATUS/RECOMMENDATION: . JUDGE PROCEEDINGS:

[ | Not in Custody lv] Detention Requested | Complaint: Y lV) N [|

[J Type of Bond:__ . Magistrate Judge Case No.: MJ- 24-070-STE

[V/] In Custody at; Oklahoma County Jail

Inmate/Prisoner/Register No.:_140065344 Previously Detained: Y [| N lv]

ATTORNEY/AGENCY INFORMATION:

[| Public Defender Name: AUSA: Drew E. Davis
Address:
[| CJA Panel Agent /Agency: ATF
[ ] Retained ”
Phone: Local Officer/Agency:
CHARGING DETAILS
Count(s) U.S.C. Citation(s) Offense(s) Charged Penalty
1 18 U.S.C. § 933(a)(1) Trafficking in Firearms 18 U.S.C. § 933(b) - NMT 15 years imprisonment;
$250,000 fine, or both; NMT 3 years S/R; $100 S/A
2 21 U.S.C. § 841(a)(1) Possession of Methamphetamine with 21 U.S.C. § 841(b)(1)(B) — NLT 5 years and NMT 40
Intent to Distribute years imprisonment; $5,000,000 fine, or both; NLT 4
years S/R; $100 S/A
3&7 21 U.S.C. § 841(a)(1) Possession of Cocaine with Intent to 21 U.S.C. § 841(b}(1)(C) — NMT 20 years

Distribute

4 18 U.S.C. § 922(0) Unlawful Possession of a Machinegun

RECEIVED

AUG 07 2024

Signature of AUSA: S/ Drew E. Davis

Clerk, U.S. District Court
WEST.DIST.OF OKLA.

imprisonment; $1,000,000 fine, or both; NLT 3 years
S/R; $100 S/A

18 U.S.C. § 924(a)(2) - NMT 10 years' imprisonment,
$250,000 fine, or both; NMT 3 years' SR; and $100
SA

Date: 08/06/2024

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Case 5:24-cr-00308-D Document5-1 Filed 08/07/24 Page 2 of 2

CRIMINAL COVERSHEET
U.S. District Court, Western District of Oklahoma

Name: KEITH TERRELL THOMPSON
CHARGING DETAILS (cont'd)

Count(s) U.S.C. Citation(s) Offense(s) Charged Penalty
5 18 U.S.C. § 924(c)(1)(A) Possession of Machinegun in Furtherance 18 U.S.C. § 924(c)(1)(B)(ii) - NLT 30 years
18 U.S.C. § 924(c)(1)(B)Gi) of a Drug-Trafficking Crime imprisonment (to be served consecutive to any other

term of imprisonment imposed); $250,000 fine; or
both; NMT 5 years S/R; $100 SA

6&8 18 U.S.C. § 924(c))(A)G) Possession of Firearms in Furtherance ofa 18 U.S.C. § 924(¢)(1)(A}(i) - NLT 5 years
Drug-Trafficking Crime imprisonment (to be served consecutive to any other
term of imprisonment imposed); $250,000 fine; or
both; NMT 5 years S/R; $100 SA

Forfeiture 18 U.S.C. § 924(4) Criminal Forfeiture Forfeiture of Property or Items
Allegations 18 U.S.C. § 934(a)(1)
21 U.S.C. § 853

28 U.S.C. § 2461(c)

Signature of AUSA: _ s/ Drew E. Davis Date; 98/06/2024

